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                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,     ) CRIMINAL NO. 07-00615 SOM
                              )
                Plaintiff,    )
                              ) ORDER DENYING DEFENDANTS’
          vs.                 ) MOTIONS FOR CHANGE OF VENUE
                              )
BENJAMIN ACUNA,      (1)      )
ANABEL VALENZUELA, (2)        )
EDDY OLGUIN,         (3)      )
                              )
                Defendants.   )
_____________________________ )

       ORDER DENYING DEFENDANTS’ MOTIONS FOR CHANGE OF VENUE

I.          INTRODUCTION.

            Defendants Benjamin Acuna, Anabel Valenzuela, and Eddy

Olguin, (collectively, “Defendants”) are charged with one count

of conspiracy to distribute and possess, with intent to

distribute, fifty grams or more of methamphetamine in violation

of U.S.C. §§ 841(a)(1), 841(b)(1)(A), and 846.             Acuna and

Valenzuela are also charged with one count of conspiracy to

commit money laundering in violation of 18 U.S.C.

§§ 1956(a)(1)(A)(I), 1956(a)(1)(B)(I), and 1956(h).              In relation

to these two charges, Acuna and Valenzuela have also been charged

with two counts of criminal forfeiture.

            Defendants have each individually moved for change of

venue to the District of Nevada pursuant to the United States

Constitution and the Federal Rules of Criminal Procedure.

Defendants have been charged with conspiracies that allegedly

involved acts occurring in and affecting the District of Hawaii.
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No statute, court rule, or circumstance causes this court to

conclude that venue should be transferred.               Defendants’ motions

for change of venue are denied.

II.         BACKGROUND FACTS.

            On September 13, 2005, a cooperating defendant advised

Drug Enforcement Administration (“DEA”) agents in Honolulu about

his source of supply of methamphetamine.              United States’ Motion

to Admit 404(b) Evidence, Feb. 6, 2008, (“Doc. No. 104") at 1-2.

After numerous arrests and information provided by the arrestees,

DEA agents learned that Charles Ranney, who had lived in both

Hawaii and Las Vegas, Nevada, during the relevant time period,

had allegedly provided the methamphetamine that was being sold in

various locations on the island of Oahu.              See id. at 2-5.      After

the methamphetamine was sold in Hawaii, the proceeds from the

sales were reportedly directed back to Ranney in Las Vegas.                   Id.

at 6.

            On September 16, 2005, Ranney was arrested in Las

Vegas.    Id.   Ranney identified one of his sources of

methamphetamine as Acuna, who also resided in Las Vegas.                  See id.

at 7-8.    Ranney said that Acuna, Acuna’s wife Valenzuela, and

Olguin had transported methamphetamine and cocaine from Mexico to

Las Vegas, often wrapping the drugs in plastic wrap and coating

the wrap with Vaseline or oil to avoid detection.                 Id. at 9.

Ranney said he received methamphetamine from the three Defendants


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either at his own home in Las Vegas, or at the residence of Sheri

Bulacan.    Ranney claims that he and others who had sold

methamphetamine in Hawaii sent the proceeds from the drug sales

in Hawaii to Acuna, Olguin, and Valenzuela.                  Id. at 8-9.

            Ranney further explained that Valenzuela owned a

clothing store called “Seventeen Again,” while Acuna and Olguin

owned a cellular phone business called “Sin City Wireless.”                    Both

businesses were located in Las Vegas.             Ranney called the stores

“fronts” used to hide the income being derived from drug sales.

See id. at 8-9.     Ranney also claimed that Valenzuela worked as a

realtor, and that Ranney purchased real property from Valenzuela

to help hide the income he received from selling methamphetamine.

Id. at 8.

            Bulacan, who allegedly distributed methamphetamine to

individuals in Hawaii, also worked directly with Defendants.                    Id.

at 18-20.    According to Bulacan, she purchased methamphetamine

from Acuna and Valenzuela and shipped some of the drugs to Hawaii

to be sold.    Bulacan claims that she paid Acuna and Valenzuela

the proceeds from the drug sales, either in person or by mailing

the money to Seventeen Again.       Id. at 20-21.             Bulacan says that

Olguin and Ranney ran the daily operations of the drug

trafficking organization.       Id. at 21.

            The DEA investigation ultimately led to the indictment

of nineteen individuals, fourteen of whom have already pled


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guilty or been convicted at trial in the District of Hawaii.                    Id.

at 23; see also United States’ Response and Opposition to Change

of Venue, April 8, 2008, (“Opp’n”) at 6.

            On November 14, 2007, a grand jury returned a four-

count Indictment, which charges seven individuals, including

Defendants, with conspiring to distribute and possess, with

intent to distribute, fifty grams or more of methamphetamine in

violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1), and 846.                  The

Indictment also charges Acuna and Valenzuela with conspiring to

launder the proceeds from the methamphetamine distribution, in

violation of U.S.C. §§ 1956(a)(1)(A)(i), 1956(a)(1)(B)(i), and

1956(h).

            Currently before the court are Valenzuela’s, Acuna’s,

and Olguin’s motions for change of venue.               Four other Defendants

charged in the Indictment have not moved for change of venue.

III.        LEGAL STANDARD.

            The Government bears the burden of proving venue by a

preponderance of the evidence.          United States v. Jones, 231 F.3d

508, 516 (9th Cir. 2000).       The Government need not meet its

burden with “direct proof,” so long as “circumstantial evidence

in the record as a whole supports the inference that the crime

was committed in the district where venue was laid.”                 United

States v. Childs, 5 F.3d 1328, 1332 (9th Cir. 1993) (internal

quotations omitted).      “When a defendant is charged in more than


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one count, venue must be proper with respect to each count.”

United States v. Corona, 34 F.3d 876, 879 (9th Cir. 1994).

IV.         ANALYSIS.

            Defendants argue that change of venue to the District

of Nevada is required because there is no allegation or claim

that Defendants committed any of the alleged offenses outside of

the State of Nevada.      Defendants also argue that transfer of

venue should be granted in the “interests of justice” pursuant to

Rule 21(b) of the Federal Rules of Criminal Procedure.

            The court is unpersuaded by these arguments and denies

Defendants’ motions.

            A.    Venue is Proper in the District of Hawaii.

            The United State Constitution provides that the venue

for a criminal trial shall be in the state and district where the

offense was committed.      See U.S. Const. art. III, § 2, cl. 3; id.

amend. VI.    There are similar provisions in the venue statute and

the Federal Rules of Criminal Procedure.              See 18 U.S.C. § 3232;

Fed. R. Crim. P. 18.

            When a crime occurs in more than one district, or is

completed in a district other than the one where it began, the

Government has the option of prosecuting that crime in any

district in which the criminal activity took place.                 18 U.S.C.

§ 3237(a).    The same statute provides that “[a]ny offense

involving the use of the mails, [or] transportation in interstate


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or foreign commerce” may be “prosecuted in any district from,

through, or into which such commerce, mail matter, or imported

object or person moves.”      Id.

                  1.     Conspiracy.

            Under § 3237(a), a conspiracy “may be prosecuted in any

district in which such offense was begun, continued, or was

completed.”    United States v. Ahumada-Avalos, 875 F.2d 681, 682

(9th Cir. 1989).

            Apart from the statute, the Supreme Court long ago held

that venue for a conspiracy case was proper wherever an overt act

in furtherance of the conspiracy was performed.                Hyde v. United

States, 225 U.S. 347, 367 (1912).            The Ninth Circuit has

consistently reaffirmed this principle, holding that “[v]enue for

a conspiracy charge is appropriate in any district where an overt

act committed in the course of the conspiracy occurred.                  It is

not necessary that [the defendant] himself have entered or

otherwise committed an overt act within the district, as long as

one of his coconspirators did.”         United States v. Antonakeas, 255

F.3d 714, 726 (9th Cir. 2000) (quoting United States v. Angotti,

105 F.3d 539, 545 (9th Cir. 1997)) (alteration in original); see

also United States v. Meyers, 847 F.2d 1408, 1411 (9th Cir.

1988); United States v. Barnard, 490 F. 2d 907, 910 (9th Cir.

1973).




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            The Ninth Circuit has applied this principle both to a

conspiracy to distribute and possess with intent to distribute

illegal substances and to a conspiracy to commit money

laundering.    In Antonakeas, the defendant was charged with

conspiring to possess with intent to distribute cocaine.                  The

defendant, a California resident, supplied cocaine to a co-

conspirator in Hawaii.      The court concluded that venue for the

conspiracy charge was proper in the District of Hawaii because

the drugs were sold in Hawaii.          Antonakeas, 255 F.3d at 726-27.

Similarly, in Angotti, the defendant, who had been charged with

conspiracy to commit money laundering, had a co-conspirator who

created a false deposit slip and faxed it from the Central

District of California.      Angotti, 105 F.3d at 545             The court

concluded that venue was proper in the Central District of

California for the conspiracy charge, even though the defendant

himself had not committed any of the alleged offenses there.

            Here, Defendants have been charged with conspiring to

distribute and possess, with intent to distribute, in excess of

fifty grams of methamphetamine, as well as conspiring to commit

money laundering, in violation of 21 U.S.C. § 846 and 18 U.S.C.

§ 1956(h), respectively.      Defendants do not dispute that co-

conspirators committed overt acts in Hawaii as part of the

conspiracy.    Specifically, methamphetamine allegedly supplied by

Defendants was sold in Hawaii, and funds ultimately used in the


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alleged money laundering conspiracy were procured in Hawaii.                    For

the purposes of establishing venue on a conspiracy charge, it is

of no import that Defendants themselves never committed any overt

acts in Hawaii, so long as their co-conspirators did.

Accordingly, venue for the conspiracy charges is clearly proper

in the District of Hawaii.

                  2.      Criminal Forfeiture.

            Counts Two and Four of the Indictment, which seek

criminal forfeiture, are based on the underlying offenses charged

in Counts One and Three.        Because the court has already

determined that venue for Counts One and Three is proper in the

District of Hawaii, venue for the criminal forfeiture counts is

similarly proper.        Defendants have not indicated whether there

will be third-party interests in the property at issue and, even

if there are, Defendants have not explained why their interests

would require transfer of venue.

            B.    Rule 21(b) of the Federal Rules of Criminal
                  Procedure Does Not Warrant Transfer of Venue.

            Rule 21(b) of the Federal Rules of Criminal Procedure

provides that: “Upon the defendant’s motion, the court may

transfer the proceeding, or one or more counts, against that

defendant to another district for the convenience of the parties

and witnesses and in the interest of justice.”                 Fed. R. Crim. P.

21(b).



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            Defendants urge the court to transfer this case “in the

interests of justice” based on a consideration of the following:

            (1) location of corporate defendant; (2)
            location of possible witnesses; (3) location
            of events likely to be in issue; (4) location
            of documents and records likely to be
            involved; (5) disruption of defendant’s
            business unless the case is transferred;
            (6) expense to the parties; (7) location of
            counsel; (8) relative accessibility of place
            of trial; (9) docket condition of each
            district or division involved; and (10) any
            other special elements which might affect
            transfer.

Platt v. Minnesota Mining & Manufacturing Co., 376 U.S. 240, 243-

44 (1964).

            The Government correctly points out that the factors

outlined in Platt dealt with a corporate defendant.                 But even if

those factors apply here, transfer to the District of Nevada is

not warranted.

            This case involves both an alleged money laundering

scheme and an alleged drug trafficking scheme.                The drugs were

allegedly sold primarily in the District of Hawaii, and these

drug sales allegedly provided the funds that were the subject of

the money laundering scheme.       The Government’s prosecution began

in August 2005 and has resulted in the indictment of nineteen

individuals, fourteen of whom have either pled guilty or been

convicted at trial, all in the District of Hawaii.                 Opp’n at 6;

see also Doc. No. 104 at 23.       The majority of the Government’s

substantive witnesses are located in the District of Hawaii, and

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 at least six of these witnesses are currently in custody.

 Further, some of the seven Defendants charged in the Indictment

 declined to seek a change in venue.         Opp’n at 5-6.

             Movants argue that, with regard to the money laundering

 scheme and the criminal forfeiture counts, potential witnesses,

 business records, and the real property at issue are primarily

 located in Las Vegas.      Nevertheless, the money laundering scheme

 is only one of the counts that Defendants have been charged with,

 and the considerations they raise are insufficient to outweigh

 the costs and burdens that would be incurred by the Government in

 having to relocate a case that has been prosecuted in this

 district since August 2005.       Rule 21(b) of the Federal Rules of

 Criminal Procedure does not warrant transfer of venue.

 V.          CONCLUSION.

             For the foregoing reasons, Defendants’ motions for

 change of venue are denied.

             IT IS SO ORDERED.

             DATED: Honolulu, Hawaii, April 11, 2008.




                                /s/ Susan Oki Mollway
                               Susan Oki Mollway
                               United States District Judge




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